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Case 2:09-cv-00863-JLR Document 2 Filed 06/22/09 Page 1 of 13

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jUN 22 2009 UK

CLERK os Gere ier COURT
WESTERN DETRICT oF WASHINGTON

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
MARSA Plaintiff, No. C ( 9 - 0 8 6 3 “{d
v, )

) DECLARATION OF KURT STAROVICH

 

ONSRUD CUTTER, LP, d/b/a ONSRUD, an
Illincis Limited Partnership,

{AR DT AY AD
{ARTY OOO VA OY

Defendant.

Peer Se ee le”

 

 

 

09-CV-00863-DECL

I, Kurt Starovich, declare as follows:

1. I am the Vice President of Finance and Administration for Defendant Onsrud
Cutter, LP (“Onsrud Cutter’). I am over the age of 18 and otherwise competent to testify. 1
make this declaration in good faith, based on my personal knowledge and on records regularly
maintained by Onsrud Cutter in the ordinary course of business.

2. Onsrud Cutter is a Limited Partnership, with its headquarters and principal place
of business in Libertyville, Hlinois.

3. The general partner for Onsrud Cutter is Onsrud, Incorporated, a Delaware
corporation with its principal place of business in Libertyville, IHinois.

4. The limited partner for Onsrud Cutter is Leitz Metalworking Technology GmbH
& CO. KG, a German Corporation with its headquarters and principal place of business in
Oberkochen, Germany.

DECLARATION OF KURT STAROVICH - 1 Jackson Lewis LLP

(09-2-05263-6) One Union Square
600 University Street, Suite 2900

Seattle, Washington 98101
(206) 405-0404

 

 

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3. On May 22, 2009, Onsrud Cutter, through its counsel, received a letter from Joel
P. Nichols, dated May 19, 2009. The letter from Mr. Nichols included a copy of Summon and
Complaint relating to an action that was commenced by Mark Raby in Snohomish County
Superior Court against Onsrud Cutter, designated Case Number No. 09-2-05263-6A. Attached
as Exhibit A is a true and correct copy of the letter from Mr. Nichols dated May 19, 2009.

I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct.

Signed this 18th day of June, 2009 at Libertyville, Illinois.

Ke,

Kurt Starovich

DECLARATION OF KURT STAROVICH - 2 Jackson Lewis LLP

_ . One Union Square
(09-2-05263-6)} 600 University Street, Suite 2960

Seattle, Washington 98161
(206) 405-0404

 

 
 

 

 

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DECLARATION OF SERVICE
The undersigned declares under penalty of perjury under the laws of the State of
Washington that a true and accurate copy of the document to which this declaration is affixed

was sent via hand delivery, on this day, to:

Joel P. Nichols
Deno Millikan Law Firm, PLLC
3411 Colby Avenue
Everett, WA 98201
Tel: 425-259-2222
Fax: 425-259-2033

Dated this 22nd day of June, 2009, at Seatile, Washington.

 

area Wy Preston

DECLARATION OF KURT STAROVICH - 3 Jackson Lewis LLP

09.7-05263- One Union Square
( 05263-6) 600 University Street, Suite 2900

Seattle, Washington 98101
(206) 405-0404

 

 
 

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EXHIBIT A

 
 

 

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Kent Millikan
Brian C. Dale

Stephanie N. Petersen
Joel P, Nichols

 

 

DENO MILLIKAN LAW FIRM euc

May 19, 2009

Matthew D. Lahey
Schiff Hardin LLP
6600 Sears Tower

Chicago, IL 60606

Re: Mark Raby v. Onsrud Cutter, LP

Dear Mr. Lahey:

Jennifer C. Gogert
James A. Pautler
Kristian E. Sohalm

Of counsel
James E. Deno

 

Enclosed is a Summons and Complaint for Breach of Contract or Mis-
representation, Wrongfully Withheld Wages, and Other Relief which has been filed in the
Snohomish County Superior Court under cause number 09-2-05263-6. Also enclosed is
an Acceptance of Service. If you will accept service on behalf of Onsrud Cutter, please
sign the document and return it to me for filing with the court. Otherwise, we will serve
Onsrud Cutter directly.

Sincerely,

DENO MILLIKAN LAW FIRM, PLLC

           

ex
P. NICHOLS

JPN\kea
Enclosures

ce: Client

425-259-2222 Fax 425-259-2033 3411 Colby Avenue Everett, WA 98201-4709

www.denomillikan.com 20885 00 ke140708 (ka)

 
 

 

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Case 2:09-cv-00863-JLR Document 2 Filed 06/22/09 Page 6 of 13

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF SNOHOMISH

MARK RABY,
No. 09-2-05263-6
Plaintiff,
ACCEPTANCE OF SERVICE

V5.

ONSRUD CUTTER, LP, d/b/a ONSRUD, an
Illinois Limited Partnership,

Defendant.

 

 

 

 

The undersigned, MATTHEW D. LAHEY of SCHIFF HARDIN LLP, hereby
acknowledges that he is the Attorney for Defendant ONRUD CUTTER, LP, d/b/a
ONSRUD, an Illinois Limited Partnership, in the above captioned action, and does hereby
acknowledge receipt and accepts service of the Summons and Complaint on behalf of the

defendant herein.

ACCEPTANCE OF SERVICE- Page 1
DENO MILLIKAN LAW FIRM, PLLC

3411 COLBY AVENUE
EVERETT, WASHINGTON 98201
425-259-2222

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Case 2:09-cv-00863-JLR Document 2 Filed 06/22/09 Page 7 of 13

DATED this

ACCEPTANCE OF SERVICE- Page 2

20885 00 keld0707 (ka)

day of

, 2009.

SCHIFF HARDIN LLP

 

MATTHEW D. LAHEY
Attorneys for Defendant Onsrud Cutter, LP

DENG MILLIKAN LAW FIRM, PLLC
3411 COLBY AVENUE
EVERETT. WASHINGTON 9870f
425-259-2222

 

 

 
 

 

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Case 2:09-cv-00863-JLR Document 2 Filed 06/22/09 Page 8 of 13

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MAY 15 2009

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COUNTY CLERK
SNOHOMISH CO. WASH.

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF SNOHOMISH

09 2 05263 6

MARK RABY,
No

 

Plaintiff,
vs. SUMMONS

ONSRUD CUTTER, LP, d/b/a ONSRUD. an
Winois Limited Partnership,

Defendant.

 

 

 

 

TO THE DEFENDANT: A lawsuit has been started against you in the above entitled court
by the above named plaintiff. Plaintiff's claim is stated in the written complaint, a copy of
which is served upon you with this summons.

In order to defend against this lawsuit, you must respond to the complaint by stating your
defense in writing, and serve a copy upon the undersigned attomey for the plaintiff within
20 days after service, or within 60 days after the service of this summons if served outside
the state of Washington, excluding the day of service, or a default judgment may be entered
against you without notice. A default judgment is one where the plaintiff is entitled to
what he asks for because you have not responded. If you serve a notice of appearance on
the undersigned attomey, you are entitled to notice before a default judgment may be
entered.

SUMMONS- Page |
DENO MILLIKAN LAW FIRM, PLLC

341! COLBY AVENUE
EVERETT, WASHINGTON 98201

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1 |} You may demand that the plaintiff file this lawsuit with the court. If you do so, the
demand must be in writing and must be served upon the plaintiff. Within 14 days after you
2 {{ serve the demand, the plaintiff must file this lawsuit with the court, or the service on you of
this summons and complaint will be void. If you wish to seek the advice of an attorney in
3 || this matter, you should do so promptly so that your written response, if any, may be served
on time.

This summons ts issued pursuant to Rule 4 of the Superior Court Civil Rules of the State of
5 |{ Washington.

6 DATED this _[41_ day of May, 2009.

7 DENO MILLIKAN LAW FIRM, PLLC

 

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SUMMONS- Page 2
DENO MILLIKAN LAW FIRM, PLLC

3411 COLBY AVENUE
EVERETT, WASHINGTON 98201
425-259-2222

 

 

 

 

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Case 2:09-cv-00863-JLR Document 2 Filed 06/22/09 Page 10 of 13

MAY 15 Ong
SONYA KRASA,

COUNTY CLERK
SNOHOMISH CO. WaSh,

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF SNOHOMISH

MARK RABY, ‘ r ET 3 me
o.09 2 05263 6
Plaintiff,
COMPLAINT FOR BREACH OF
¥S. CONTRACT GR
MISREPRESENTATION,
ONSRUD CUTTER, LP, d/b/a ONSRUD, an WRONGFULLY WITHHELD
Illinois Limited Partnership, WAGES. AND OTHER RELIEF
Defendant.

 

 

Plaintiff, Mark Raby, by and through his attorney, Joel P. Nichols of DENO
MILLIKAN LAW FIRM, PLLC, by way of Complaint for Breach of Contract, Negligent
Misrepresentation, Wrongfully Withheld Wages, and Other Relief, alleges as follows:

EL. PARTIES, JURISDICTION AND VENUE

1.1 Plaintiff Mark Raby is a resident of Snohomish County, Washington.

12 Defendant Onsrud Cutter, LP, d/b/a Onsrud, on information and belief, is an
{lincis Limited Partnership licensed to do business in the State of Washington, and

conducted business in Snohomish County, Washington at all times material hereto.

COMPLAINT FOR BREACH OF CONTRACT OR DENO MILLIK W FIRM, PLLC
LIKAN LA ,

MISREPRESENTATION, WRONGFULLY WITHHELD 3411 COLBY AVENUE

WAGES, AND OTHER RELIEF- Page | EVERETT, WASHINGTON 9820]

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1.3 Jurisdiction and Venue: Jurisdiction and venue are appropriate with this

court, and all events occurred within Everett, Snohomish County, Washington.
i. OPERATIVE FACTS

2.1 From March 19, 2008 through March 10, 2009, Plaintiff worked for
Defendant as a salesman under a written agreement in which Defendant guaranteed him a
base salary and commission totaling $95,000.00 per year for 2008 and 2009.

2.2 In January 2009, Defendant unilaterally cut Plaintiffs pay in half without
notice. When Plaintiff questioned this action, Defendant explained it interpreted the
contractual language to allow Defendant to modify the percentages of compensation it
designated as salary and commission, provided those amounts totaled $95,000 for 2009.
Defendant then made a modified offer to Plaintiff of compensation for 2009, still
guaranteeing a portion of salary and commission. Believing he had no choice but to accept
Defendant’s modification of the contract, Plaintiff accepted the modified offer of
employment for 2009.

2.3. On March 10, 2009, Defendant immediately discharged Plaintiff from his
employment without cause.

2.4  Defendant’s offers, and Plaintiffs acceptance of those offers, formed
bilateral contracts that could not be terminated at will.

2.5 Plaintiff reasonably relied, to his detriment, on Defendant’s guarantees that

he would be paid salary and commission through the end of 2009.

COMPLAINT FOR BREACH OF CONTRACT OR DENO MILLIKAN LAW FIR c
IL AW FIRM, PLE
MISREPRESENTATION, WRONGFULLY WITHHELD 4411 COLBY AVENUE
WAGES, AND OTHER RELIEF Page 2 EVERETT, WASHINGTON 98201
425-259-2222

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Case 2:09-cv-00863-JLR Document 2 Filed 06/22/09 Page 12 of 13

fH. FIRST CAUSE OF ACTION — BREACH OF CONTRACT

3.1 Plaintiff realleges paragraphs |.1 through 2.5 as if fully stated herein.

3.2 Defendant breached its contract with Plaintiff, both by failing to pay him as
agreed upon and by terminating his employment, causing Plaintiff to suffer damages in an
amount to be proven at trial.

IV. SECOND CAUSE OF ACTION ~ MISREPRESENTATION

4.1 Plaintiff realleges paragraphs 1.1 through 3.2 as if fully stated herein.

4.2 In the alternative, Defendant intentionally or negligently misrepresented the
conditions of Plaintiff's employment, causing Plaintiff to suffer damages in an amount to
be proven at trial. |

V. THIRD CAUSE OF ACTION ~ WAGES DUE

5.1 Plaintiff realleges paragraphs 1.1 through 4.2 as if fully stated herein.

5.2 Detendant failed to pay wages owed to plaintiff pursuant to Washington
law, RCW Ch, 49.48 et seq, and RCW Ch. 49.52, et seq. The amount of wages owed to
plaintiff will be proven at the time of trial herein, is believed to be approximately
$74,904.06.

5.3. Defendant's failure to pay Plaintiff wages due was willful, in violation of
RCW 49.52.050.

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COMPLAINT FOR BREACH OF CONTRACT OR DENO MILLIKAN LAW FIRM, PLLC
A :
MISREPRESENTATION, WRONGFULLY WITHHELD 3411 COLBY AVENUE
WAGES, AND OTHER RELIEF- Page 3 EVERETT, WASHINGTON 93201
425-259-2222

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VI. DEMAND

Plaintiff Mark Raby requests that judgment be entered against Defendant as
follows:

6.1. Awarding plaintiff special damages for lost wages, benefits and medical
expenses in an amount to be established at the time of trial.

6.2. Awarding plaintiff double the amount of wrongfully withheld wages
pursuant to RCW 49.52.070.

6.3. Awarding plaintiff actual and reasonable attorney fees and costs incurred in
this action whether by contract, equity, or statute, including but not limited to RCW 49.48
et seq. and/or RCW 49.52 et seq.
6.4 Awarding plaintiff any additional or further relief which the court finds

appropriate or just, including but not limited to prejudgment interest.

DATED this_{"7_ day of May, 2009.

DENO MILLIKAN LAW FIRM, PLLC

 

COMPLAINT FOR BREACH OF CONTRACT OR

MISREPRESENTATION, WRONGFULLY WITHHELD DENO ty COrRY AVENUE. PLLC

WAGES, AND OTHER RELIEF- Page 4 EVERETT, WASHINGTON 98201
425-259-2222

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